   Case 23-30013             Doc 97    Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                                        Document     Page 1 of 25



                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

In re:                                       )        Chapter 11
                                             )
B GSE GROUP, LLC,                            )        Case No. 23-30013
                                             )
                             Debtor.         )

                                NOTICE OF SERVICE OF SUBPOENAS

         PLEASE TAKE NOTICE that B GSE Group, LLC is serving subpoenas duces tecum

upon Energy Task Force, LLC, ETF West LLC, Northern Air Systems, Inc., and Granite Re, Inc.

Copies of the referenced subpoenas are attached hereto as Exhibit 1.

Dated: Charlotte, North Carolina
       March 6, 2023

                                           MOON WRIGHT & HOUSTON, PLLC

                                                  /s/ Richard S. Wright
                                           Richard S. Wright (Bar No. 24622)
                                           212 North McDowell Street, Suite 200
                                           Charlotte, North Carolina 28204
                                           Telephone: (704) 944-6560
                                           Facsimile: (704) 944-0380
                                           Counsel for the Debtor




MWH: 10782.001; 00028279.1
  Case 23-30013              Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43    Desc Main
                                       Document     Page 2 of 25



                                      CERTIFICATE OF SERVICE

         I hereby certify that the foregoing NOTICE OF SERVICE OF SUBPOENAS was served

by electronic notification on those parties registered with the United States Bankruptcy Court,

Western District of North Carolina ECF system to receive notices for this case on the date shown

below.

Dated: Charlotte, North Carolina
       March 6, 2023

                                          MOON WRIGHT & HOUSTON, PLLC

                                                 /s/ Richard S. Wright
                                          Richard S. Wright (Bar No. 24622)
                                          212 North McDowell Street, Suite 200
                                          Charlotte, North Carolina 28204
                                          Telephone: (704) 944-6560
                                          Facsimile: (704) 944-0380
                                          Counsel for the Debtor




MWH: 10782.001; 00028279.1                         2
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                          Document     Page 3 of 25




                          EXHIBIT 1
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                          Document     Page 4 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                          Document     Page 5 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                          Document     Page 6 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                          Document     Page 7 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                          Document     Page 8 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                          Document     Page 9 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 10 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 11 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 12 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 13 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 14 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 15 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 16 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 17 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 18 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 19 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 20 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 21 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 22 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 23 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 24 of 25
Case 23-30013   Doc 97   Filed 03/06/23 Entered 03/06/23 18:41:43   Desc Main
                         Document      Page 25 of 25
